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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                     AT LEXINGTON
                                CASE NO. __________________

HEIDI ERICKSON                                                                              PLAINTIFF

V.                                        NOTICE OF REMOVAL

COMMONWEALTH OF KENTUCKY , et al.,                                                      DEFENDANTS

                                 *    *    *    *    *   *    *    *    *

        Defendants Commonwealth of Kentucky; Cabinet for Health and Family Services (“the

Cabinet”); Audrey Tayse Haynes, Secretary of the Cabinet for Health and Family Services;

Teresa James, Commissioner of the Department for Community Based Services (“DCBS”);

Public Assistance Appeals Board; Board Members Dana Nickles, Lee Guice, Colleen Hagan;

Cabinet hearing officers Mark Neff, Mathew Mooney, Maria Delacruz; and DCBS SNAP benefit

eligibility determination employees Wendy Cumpston1 and Laura Helvey,2 in their individual

and official capacities (collectively CHFS Defendants), submit this Notice of Removal of the

above-entitled civil rights action from the Commonwealth of Kentucky, Madison Circuit Court

to the United States District Court for the Eastern District of Kentucky, Lexington Division. As

authority for removal, the Defendants state as follows:

        Removal is generally authorized by 28 U.S.C. § 1441 and 28 U.S.C. § 1331.

        Plaintiff Heidi Erickson filed an original action in the Commonwealth of Kentucky,

Madison Circuit Court and service of process was attempted on defendants by the clerk mailing

certified mail on September 9, 2014. The case was generally styled “Heidi Erickson, Petitioner




1
  Wendy Cumpston was the DCBS Nutrition Assistance Branch manager that filed exceptions on November 21,
2013 to the Hearing Officer’s Recommended Decision issued November 6, 2003.
2
  Laura Helvey is a DCBS Family Support Specialist in the SNAP program.


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v. Commonwealth of Kentucky, et., al, under Civil Action No. 14-CI-514, Division II, Madison

Circuit Court.

       Within her complaint and petition for judicial review of an adverse administrative

decision under KRS Chapter 13B, Plaintiff also asserted federal civil rights claims, including

claims under 42 U.S.C. § 1983 and Title II of the Americans with Dishabilles Act; as well as

various other law state law claims. This Notice of Removal has been timely filed within 30 days

of service of the complaint, in accordance with 28 U.S.C. § 1446(b). The thirty day time period

for removal is triggered by proper service of the last served Defendant. Murphy Bros. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344, 354-55 (1999); Brierly v. Alusuisse Flexible Packaging, Inc.,

184 F.3d 527, 533 (6th Cir. 1999).

       The Court has federal claim jurisdiction over this civil action pursuant to 28 U.S.C. §

1331 because Plaintiff asserts federal claims that could have been filed in federal court under

federal question jurisdiction. In paragraph 11 on page 5, as well as in “Counts II” on page 18 of

her complaint, Plaintiff asserts a “due process” violation of 42 U.S.C. 1983 and the Fourteenth

Amendment to the United States Constitution, premised on “negligence.” In “Count I” on page

18, Plaintiff alleges a violation of Title II of the Americans with Disabilities Act, premised on

her pet dog not being found eligible for nutrition benefits under the federal Supplemental

Nutrition Assistance Program, or the expenses of this pet not being deductible from her income.

       Defendants were served with summons and the complaint attached which includes

various exhibits appended to Plaintiff’s 20-page Petition (Attachment 1).

       Defendants have given written notice of the filing of this notice of removal to the pro se

Plaintiff by mail and a copy of this Notice of Removal will be served on Plaintiff and the Clerk




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of the Madison Circuit Court as required by 28 U.S.C. § 1446(d) (Attachment 2). The Civil

Cover Sheet for this Court is attached as Attachment 3.

       WHEREFORE, having removed, Defendants invoke the jurisdiction of this Court upon

filing of this Notice of Removal.



                                            Respectfully Submitted,

                                            D. Brent Irvin_________
                                            D. Brent Irvin
                                            Deputy General Counsel
                                            CHFS, Office of Legal Services
                                            275 East Main Street 5W-B
                                            Frankfort, KY 40621
                                            TEL: (502) 564-7905
                                            FAX: (502) 564-7573
                                            Brent.Irvin@Ky.gov.
                                            Counsel for Removing Defendants


                                CERTIFICATE OF SERVICE

        A true and accurate copy of the foregoing Notice of Removal was filed using the ECF
filing system and a copy was served on the pro se Plaintiff by United States mail; postage pre-
paid on this 19th day of September 2014 addressed as follows:


Ms. Heidi Kristine Erickson
P.O. Box 2
Bighill, KY 40405

      A courtesy copy has also been emailed to the Plaintiff at an email address recited in her
complaint.




                                            D. Brent Irvin______________
                                            D. Brent Irvin
                                            Counsel for the Defendants




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